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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:
                                                               Chapter 7
 NINETY FIFTH STREET SQUARE INC.,
                                                               Case No. 17-12270 (SCC)
                           Debtor.
 ----------------------------------------------------------x
  [PROPOSED] ORDER, PURSUANT TO RULE 2004 OF THE FEDERAL RULES OF
      BANKRUPTCY PROCEDURE, AUTHORIZING AND DIRECTING THE
     PRODUCTION OF DOCUMENTS BY, AND EXAMINATION OF JOSHUA
                          BRONSTEIN, ESQ.

        Upon the application, dated August 27, 2018, and the exhibits annexed thereto (the

“Application”), of Salvatore LaMonica, the Chapter 7 Trustee (the “Trustee”) of the estate of

Ninety Fifth Street Square Inc. (the “Debtor”) for the entry of an Order, pursuant to Rule 2004 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), directing and compelling

Joshua Bronstein, Esq. (“Bronstein”) to produce certain documents to the Trustee concerning the

acts, conduct, property, liabilities and/or financial condition of the Debtor and/or any other matters

which may affect the administration of the Debtor’s estate as more fully set forth in the

Application; and upon the status conference held on September 13, 2018 during which time the

Court inquired as to the willingness of the United Stated Trustee (“United States Trustee”) to

review the production of documents and conduct the examination pursuant to the Application; and

upon an opposition by Bronstein to the Application filed on September 14, 2018; and upon a

hearing on Bronstein’s application to withdraw as the Debtor’s counsel held on November 5, 2018

at which hearing the relevance of his compliance with the Application was addressed, and upon

all of the pleadings and proceedings had before this Court; and after due deliberation and sufficient

cause appearing, it is hereby
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       ORDERED, pursuant to Bankruptcy Rule 2004, that Bronstein be and hereby is directed

to produce to the United States Trustee, at the United States Department of Justice, Office of the

United States Trustee, 201 Varick Street, Suite 1006, New York, NY 10014, the following

documents in its possession, custody and/or control:

               (i)      Copies of all documents and/or communications, including, without
                        limitation, memoranda, letters, emails, text messages, and voicemails, with
                        any individual or entity relating in any manner to the real property located
                        at 273 East 95th Street, Brooklyn, New York 11212 (the “Property”),
                        including, without limitations, mortgage statements, appraisals, leases,
                        violations, contracts for sale, offers for sale, etc.;

               (ii)     Any and all books and records of the Debtor, including, without limitations,
                        bank statements, financial documents, records of past rents collected, tax
                        returns, etc.;

               (iii)    Copies of all documents and/or communications, including, without
                        limitation, memoranda, letters, emails, text messages, and voicemails, with
                        any individual or entity relating to the Debtor, including, without
                        limitations, books and records, financial documents, bank statements with
                        copies of checks, tax returns, evidence of liabilities, etc.;


               (iv)     Copies of all documents and/or communications, including, without
                        limitation, memoranda, letters, emails, text messages, and voicemails, with
                        any individual or entity relating to any bankruptcy affecting the Debtor or
                        the Property, including but not limited to: (a) Case No. 15-14702-MBK
                        filed by Nelkenbaum in the Bankruptcy Court for the District of New
                        Jersey; (b) Case No. 16-41652-ess filed by Eli Kass in the Bankruptcy Court
                        for the Eastern District of New York; (c) Case No. 16-13495-scc filed by
                        Nedel Lionel in the Bankruptcy Court for the Southern District of New
                        York; (d) Case No. 17-12270 filed by the Debtor in the Bankruptcy Court
                        for the Southern District of New York; and (e) Case No. 18-40885-ess filed
                        by Nedel Lionel and Simchah Toiv;


               (v)      Copies of all documents and/or communications, including, without
                        limitation, memoranda, letters, emails, text messages, and voicemails, with
                        any individual or entity relating to Al Zanzuri, Yehuda Nelkenbaum, Gerald
                        Slotnick, Aaron Feinberg, Craig Stuart Lanza, Eli Kass, Nedel Lionel,
                        and/or Simchah Toiv;




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                (vi)     Copies of all documents and/or communications, including, without
                         limitation, memoranda, letters, emails, text messages, and voicemails, with
                         any individual or entity relating to the action commenced by the Debtor in
                         the Supreme Court of the State of New York, denominated index no.
                         505421/2018;


                (vii)    Copies of all documents executed in connection with this or any other
                         bankruptcy case of the Debtor, including, without limitation, engagement
                         letters, retainer agreements, petitions, etc.;


                (viii) Copies of all documents filed in or related to any other voluntary or
                       involuntary bankruptcy cases or state court cases commenced by Bronstein,
                       or in which Bronstein performed legal services, on behalf of or in relation
                       to Al Zanzuri, Yehuda Nelkenbaum, Gerald Slotnick, Aaron Feinberg,
                       Craig Stuart Lanza, Eli Kass, Nedel Lionel, and/or Simchah Toiv, and/or
                       any entity controlled, operated, or owned by any of the foregoing
                       individuals;


                (ix)     Copies of all documents filed in or related to any cases commenced in any
                         federal court, including bankruptcy court, or state court in which Bronstein
                         represented a party or performed legal services and Gerald Slotnik and/or
                         Craig Stuart Lanza also represented a party or performed legal services.

and it is further

        ORDERED, that Bronstein shall appear for an examination under oath by the Trustee

pursuant to Bankruptcy Rule 2004 relating to the acts, conduct, property, liabilities, and/or

financial condition of the Debtor, or any other matters which may affect the administration of the

Debtor’s estate and any and all related matters; and it is further

        ORDERED, that Bronstein be, and hereby is, directed to produce to the United States

Trustee at the United States Department of Justice, Office of the United States Trustee, 201 Varick

Street, Suite 1006, New York, NY 10014, for examination and copying, any documents

subsequently requested by the United States Trustee as a result of information obtained from

documents produced; and it is further




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        ORDERED, that aforesaid production of documents by, and examination of Bronstein,

shall be compelled pursuant to the issuance and service of subpoenas under Rule 45 of the Federal

Rules of Civil Procedure, made applicable to bankruptcy cases by way of Bankruptcy Rule 9016;

and it is further

        ORDERED, that service of this Order and the subpoena upon Bronstein by first class mail,

shall be deemed good and proper service of this Order and the subpoena.

Dated: New York, New York
       November __, 2018
                                            _____________________________________
                                            HONORABLE SHELLEY C. CHAPMAN
                                            UNITED STATES BANKRUPTCY JUDGE




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